Case 9:18-cr-80160-WPD Document 67 Entered on FLSD Docket 05/24/2022 Page 1 of 1



                                                                                           MAY 24 2022
                                                                                           ANGELA E. NOBLE
                                 UNITED STATES DISTRICT COURT                             CLERK U.S. DIST. CT.
                                                                                          S.D. OF FLA. - W.P.B.
                                 SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO:       / ~ - ~ 0 I (t,O ,.{!J?_- Pf N /T{l.O U(E)j_.3
  UNITED STATES OF AMERICA,
                  Plaintiff,                                    RULE 44(c) ADVICE
  V.                                                            AND WAIVER CONCERNING
                                                                CONFLICT OF INTEREST
C.LAvoi,4 /1r.r/l.,e.1A-OtA z. C.u,'l.u:N
                          Defendant.
                                         I

                         ADVICE OF RIGHT TO SEPARATE COUNSEL

          The United States Constitution guarantees that every defendant in a criminal case shall have
  the right to effective assistance of counsel. When one lawyer represents two or more defendants in
  the same case he may experience a conflict of interest, which means he may not be able to give
  equally good representation to each defendant. This is because no two persons are ever exactly alike
  and one person's involvement in a criminal case is never exactly the same as that of another person.
  In order to be of the greatest assistance to you, your lawyer might need to say or do something that
  would not be in the best interest of your co-defendant and you, both.

           The law gives each defendant the right to have a separate lawyer.

                         WAIVER OF RIGHT TO SEPARATE COUNSEL

           I have read the above explanation of my right to separate counsel and have asked any
  questions that I had of my lawyer or the Judge. I understaJJ,d my right to have a separate lawyer, but
  I want to give up this right. I want      ,._,, ;iq.. p._, 2v lt.L ,Pesa.A L "?: O           to be my
  lawyer, even though he/she represents another defendant(s) in this case and might have a conflict of
  interest which will not be in my best interest. I understand that ifI change mx mind about this later
  the trial will not be postponed so that I can get another lawye~r.

  Dated:    5(cl. 'f / P-0 ..:l ~               Defendant: _--1--.=--+---+-------

                               CERTIFICATE OF MAGISTRA               J    GE

          The defendant whose name appears above appeared before the under igned in open Court
  thi~ dat~, was fully advised by me in accordance with Fe .R.Crim.P. 44(c), nd si   the above
  waiver m my presence.

  Dated:    S@ lf/ J;/6 ii~


  c:       AUSA
           Defense Counsel
           Pretrial Services
           U.S . Marshal
